                                Case 5:24-mc-80006-PCP Document 1-1 Filed 01/10/24 Page 1 of 1
JS-CAND 44(Rev. 10/2020)
                                                                                CIVIL COVER SHEET
The JS-CAND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law.
except as provided by local rules of court. This form, approved in its original form by the Judicial Conference ofThe United States in September 1974, is required for the Clerk of
Court to initiate the civil docket sheet.(SEE WSTRUCTiOm ON NEXT PAGE OF THIS FORM.)

1.(a)PLAINTIFFS                                                                                                DEFENDANTS

  David Stebbins                                                                                            Thiago Chagas Garcia Baz
  (b)County of Residence of First Listed Plaintiff Boone County,ar                                             County of Residence of First Listed Defendant
          (EXCEPTIN U.S. PLAINTIFF CASES)                                                                     (IN U.i PLAINTIFF CASES ONLY)
                                                                                                               NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                             THE TRACT OF LAND INVOLVED.

  (c) Attorneys (Firm Name. Address, and Telephone Number)                                                     Attorneys(IfKnown)




II.        BASIS OF JURISDICTION (Place an "X" in One Box Only)                                III. CITIZENSHIP OF PRINCIPAL PARTIES(Placean -X-inOne Boxfor Plaintiff
                                                                                                     (For Diversity Cases Only)                                           and One Boxfor Defendant)
                                                                                                                                           PTF        DBF                                             PTF       DEF
      1    U.S. Government Plaintiff     x3     Federal Question                                     Citizen of This State                     1        1       Incorporated or Principal Place           4       4
                                                (U.S. Governmeni Not a Party)
                                                                                                                                                                of Business In This State
                                                                                                     Citizen of Another State               X2          2       Incorporated o/td Principal Place      ,5         5
      2    U.S. Government Defendant       4     Diversity                                                                                                      of Business In Another Stale
                                               (Indicate CiUienship ofParlies in hem III)
                                                                                                     Citizen or Subject of a                  3      X3         Foreign Nation                            6       6
                                                                                                     Foreign Country

 IV.         NATURE OF SUIT (Place an "X" in One Box Only)
            CONTRACT                                               TORTO                                       FORFEITURE/PENALTY                           BANKRUPTCY                      OTHER STATUTES
   110 Insurance
                                         PERSONAL INJURY                      PERSONAL INJURY                  625 Drug Related Seizure of           422 Appeal 28 USC § 158            375 False Claims Act
   120 Marine                                                                                                      Property 21 USC§881               423 Withdrawal 28 USC              376 Qui Tarn(31 USC
                                       310 Airplane                        365 Personal Injury — Product
   130 Miller Act                                                              Liability                       690 Other                                    § 157                           § 3729(a))
                                       315 Airplane Product Liabilit}'
   140 Negotiable Instrument                                               367 Health Care/                               LABOR                        PROPERTY RIGHTS
                                                                                                                                                                                        400 Slate Reapportionmeni
                                       320 Assault, Libel & Slander
   150 Recovery of                                                              Pharmaceutical Personal                                                                                 410 Antitrust
                                       330 Federal Employers'                                                  710 Fair Labor Standards Act        X 820 Copyrights
       Overpayment Of                                                           Injury Product Liability                                                                                430 Banks and Banking
                                           Liability                                                           720 Labor/Management                  830 Patent
          Veteran's Benefiis                                               368 Asbestos Personal Injury                                                                                 450 Commerce
                                       340 Marine                                                                     Relations                      835 Patent—.Abbreviated New
      151 Medicare Act                                                          Product Liability
                                       345 Marine Product Liability                                            740 Railway Labor Act                        Drug Applicotion            460 Deportation
   152 Recovery of Defaulted                                                PERSONAL PROPERTY
                                                                                                                                                                                        470 Racketeer Influenced &
                                       350 Motor Vehicle                                                       751 Family and Medical                840 Trademark
          Student Loons(Excludes                                           370 Other Fraud                                                                                                  - Corrupt Organizations
                                       355 Motor Vehicle Product                                                      Leave Act                      880 Defend Trade Secrets
          Veterans)                                                        371 Truiii in Lending
                                            Liability                                                          790 Other Labor Litigation                   Actof2016                   480 Consumer Credit
   153 Recovery of                                                         380 Other Personal Property
                                       360 Other Personal Injury                                               791 Employee Retirement                                                  485 Telephone Consumer
       Overpayment                                                              Damage
                                                                                                                                                      SOCIAL SECURITY
                                                                                                                      Income Security Act                                                      Protection Act
       of Veteran's Benefits           362 Personal Injury -Medical                                                                                  861 HlA(139SiT)
                                            Malpractice                     385 Property Damage Product                                                                                 490 Cable/Sat TV
      160 Stockholders' Suits                                                   Liabilitv                             IMMIGRATION                    862 Black Lung (923)               850 Securities/Commodities/
      190 Oilier Contract                                                                                      462 Naturalization                    863 DIWC/DIWW (405(g))
                                            CIVIL RIGHTS                    PRISONER PETITIONS                                                                                              Exchange
      195 Contract Product Liability                                                                               Application                       864 SSID Title XVI
                                       440 Other Civil Rights                                                                                                                           890 Other Statutory Actions
                                                                               HABEAS CORPUS                   465 Other Immigration
      196 Franchise                                                                                                                                  865 RSI(405(g))                    891 Agricultural Acts
                                       441 Voting                           463 Alien Detainee                        Actions
          REAL PROPERTY                                                                                                                               FEDERAL TAX SUITS                 893 Environmental Matters
                                       442 Employment                       510 Motions to Vacate
   210 Land Condemnation                                                        Sentence                                                                                                895 Freedomoflnformation
                                       443 Housing/                                                                                                  870 Taxes(U.S. Plaintiff or
                                                                                                                                                            Defendant)                         Act
   220 Foreclosure                          Accommodations                  530 General
                                                                                                                                                                                        896 Arbitration
   230 Rent Lease & Ejectment          445 Amcr. w/Disabililiea-            535 Death Penalty                                                        871IRS-Third Party 26 USC
                                            Employment                                                                                                                                 , 899 Administrative Procedure
   240 Torts to Land                                                                                                                                        5 7609
                                                                                     OTHER
                                       446 Amer. w/Disabihties-Other
                                                                                                                                                                                               Act/Review or Appeal of
   245 Tort Product Liability                                               540 Mandamus &. OlJter                                                                                             Agency Decision
   290 All Other Real Property         448 Education
                                                                            550 Civil Rights                                                                                            950 Constitutionality of State
                                                                            555 Prison Condition                                                                                               Statutes

                                                                            560 Civil Detainee-
                                                                                Conditions of
                                                                                Confinement


 V.          ORIGIN (Place an "X"in One Box Only)
 X I      Original                 2   Removed from                3     Remanded from           4    Reinstated or               Transferred from                   Multidistrict                Multidistrici
          Proceeding                   State Court                       Appellate Court              Reopened                    Another District (specify)         Litigation-Tiansfer          Litigation-Direct File


 VI.         CAUSE OF                     U.S. Civil Statute under which vou are filtne (Do not die iurisJIctional statutes unless JlversltY)'
             ACTION               17 use §501
                                 Brief description of cause;
                                  Defendant infringed ray copyright and libeled rae when he countered the DMCA Takedown.
 VII.        REQUESTED IN                  CHECK IF THIS IS A CLASS ACTION                           DE\UNDS 2,950,000.00                              CHECK YES only if demanded in complaint;
             COMPLAINT:                     UNDER RULE 23. Fed. R. Civ. P.                                                                             JURY DEMAND:                         Yes        X No


 VIII. RELATED CASE(S),                                  JUDGE                                                         DOCKET NUMBER
             IF ANY (See iiislniciions):

 IX.        DIVISIONAL ASSIGNMENT (Civil Local Rule 3-2)
 (Place an "X" in One Box Only)                      ^ SAN FRANCISCO/OAKLAND                                                       SAN JOSE                           EUREKA-MCKINLEYVILLE



 DATE 01/08/2024                                         SIGNATURE OF ATTORNEY OF RECORD
